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                           UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO



 UNITED STATES OF AMERICA                          Case No. 1:22-cv-329-BLW

                                     Plaintiff,    MEMORANDUM IN SUPPORT
                      v.                           OF EMERGENCY MOTION TO
                                                   MODIFY PRELIMINARY
 STATE OF IDAHO                                    INJUNCTION [Dkt. 95]
                                 Defendant.




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                                        INTRODUCTION

       Much has changed since this Court preliminarily enjoined Idaho’s Defense of Life Act

in August 2022. Most significantly, the United States has walked back its interpretation of

EMTALA so dramatically that a majority of the Supreme Court either believes there is no

conflict whatsoever between the two laws or the conflict is so minimal that Idaho’s Defense

of Life Act ought to be “almost entirely intact.” Dkt. 165-2 at 15 (Barrett, J., concurring); see

also Dkt. 165-2 at 40 (Alito, J., dissenting). But it isn’t because this Court has not had the

opportunity to modify the scope of the preliminary injunction to catch up with all of the

judicial admissions made by the United States. This motion provides that opportunity.

       Modification is particularly needed because the United States is sowing confusion.

Before the Supreme Court, it made “important” and “critical” judicial admissions that

narrowed—dramatically and materially—the scope of any potential conflict between

EMTALA and the Defense of Life Act. Id. at 12 (Barrett, J., concurring). But in the past few

days, the United States has tried to walk away from those judicial admissions. It is warning

hospitals of their supposed “obligation” to perform abortions for all emergency medical

conditions. And it is telling healthcare providers that nothing has changed from its 2022

reinterpretation of EMTALA. The only reasonable interpretation of the United States’ most

recent communications regarding EMTALA simply cannot be squared with its judicial

admissions. The State of Idaho, thus, respectfully asks this Court to modify the preliminary

injunction to hold the United States to the official positions it has taken in this litigation. Those

are binding judicial admissions, and the State and the public have a right to see them

incorporated into the preliminary injunction.


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                                        BACKGROUND

        In this case challenging Idaho’s Defense of Life Act, Idaho Code § 18-622, the United

States alleges that the Defense of Life Act violates the Supremacy Clause and is preempted as

conflicting with the Emergency Medical Treatment and Labor Act (“EMTALA”), 42 U.S.C.

§ 1395dd. See generally Dkt. 1. The federal government brought its suit little more than three

weeks before the Defense of Life Act was to take effect, and so the Court set an expedited

hearing and the parties submitted expedited briefing. See Dkts. 13, 22. Just a day before the

law was to take effect, the Court entered a preliminary injunction. Dkt. 95. It enjoined the

State from enforcing the Defense of Life Act by

        initiating any criminal prosecution against, attempting to suspend or revoke the
        professional license of, or seeking to impose any other form of liability on, any
        medical provider or hospital based on their performance of conduct that (1) is
        defined as an “abortion” under Idaho Code § 18-604(1), but that is necessary to
        avoid (i) “placing the health of” a pregnant patient “in serious jeopardy”; (ii) a
        “serious impairment to bodily functions” of the pregnant patient; or (iii) a
        “serious dysfunction of any bodily organ or part” of the pregnant patient,
        pursuant to 42 U.S.C. § 1395dd(e)(1)(A)(i)-(iii).

Id. at 39.

        Although the State moved the Court to reconsider its ruling, including after the Idaho

Supreme Court issued Planned Parenthood Great Nw. v. State, 171 Idaho 374, 522 P.3d 1132

(2023), this Court denied reconsidering its injunction. Dkt. 135. After a Ninth Circuit appeal

was taken, Dkt. 136, that court initially stayed the injunction, but the en banc Ninth Circuit

vacated the stay and set the merits of the preliminary injunction appeal for argument before

the en banc court. See Dkt. 156; see also Dkts. 147, 148, 153. Before the Ninth Circuit argument

occurred, the Supreme Court of the United States stayed this Court’s injunction and granted



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certiorari before judgment. Dkt. 158. The Supreme Court, however, recently vacated its stay

and dismissed its writs granting certiorari as improvidently granted. Dkt. 165-2.

       Justice Barrett, joined by the Chief Justice and Justice Kavanaugh, explained that the

Supreme Court took this action because of the evolution of the case after certiorari was

granted. Id. at 13 (Barrett, J., concurring). The stay of this Court’s injunction was no longer

necessary because of “[t]he dramatic narrowing of the dispute—especially the Government’s

position on abortions to address mental health and conscience exemptions for healthcare

providers.” Id. at 14 (Barrett, J., concurring). Those judicial admissions were in addition to two

other judicial admissions made by the federal government. Id. at 12 n.* (Barrett, J., concurring).

       Yet only days after the Supreme Court relied on the United States’ important judicial

admissions, the Department of Health and Human Services and the Centers for Medicare and

Medicaid Services issued a letter to hospital and provider associations.1 The July 2nd letter

broadly proclaimed that “EMTALA requires that hospitals offer stabilizing treatment,

including abortion care (or transfer, if appropriate) when necessary to stabilize the patient’s

emergency medical condition and ensure that the patient’s condition does not materially

worsen.” The letter nowhere informs healthcare providers of the material and “critical” judicial

admissions the United States made before the Supreme Court, namely, that (1) abortion is not

stabilizing treatment for mental health conditions; (2) abortions need not be performed by

doctors or hospitals who have conscience objections; (3) EMTALA requires delivery, not

abortion, postviability, and (4) EMTALA only requires abortion “in an emergency acute



1 Press Release, U.S. Dep’t of Health and Hum. Servs., Biden-Harris Administration Reaffirms

Commitment to EMTALA Enforcement (July 2, 2024) https://tinyurl.com/2p9c3vvs.

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medical situation where a woman’s health is in jeopardy if she does not receive an abortion

then and there.” Dkt. 165-2 at 12 n.* (Barrett, J., concurring) (cleaned up).

       Given the United States’ judicial admissions before the Supreme Court, and to avoid

any confusion caused by the July 2nd HHS/CMS letter, the preliminary injunction, as it

currently exists, should be modified and narrowed based on those judicial admissions. Two

days ago, counsel for the State asked counsel for the United States if the United States would

agree to stipulate to modify the scope of the injunction, but the United States declined earlier

today. Counsel Decl. Ex. A. Counsel for the State then advised counsel for the United States

that it intended to file this motion. Id.

                            LEGAL STANDARD AND JURISDICTION

       Federal Rule of Civil Procedure 62(d) permits this Court, while an appeal is pending,

to “suspend, modify, restore, or grant an injunction on terms for bond or other terms that

secure the opposing party’s rights.” Fed. R. Civ. P. 62(d). Where there has been a significant

change in the facts or law, as shown by the party seeking the modification of a preliminary

injunction, a court should revise the injunction. Sharp v. Weston, 233 F.3d 1166, 1170 (9th Cir.

2000). That is the case here.

                                            ARGUMENT

       The United States made four, important judicial admissions before the Supreme Court:

       1. Abortion is not stabilizing treatment for mental health conditions, period.
       2. Doctors and hospitals do not have to perform or provide abortions to which they
          object on conscience grounds, period.
       3. EMTALA requires delivery, not abortion, postviability.
       4. EMTALA only requires abortions for emergency acute medical situations where
          the woman’s health is in jeopardy if she does not receive an abortion “then and
          there.”


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Dkt. 165-2 at 12–13 and 12 n.* (Barrett, J., concurring (citing United States’ brief before the

Supreme Court and oral argument representations)). Those judicial admissions are not

reflected in the Court’s preliminary injunction. See Dkt. 95 at 39. And the recent HHS/CMS

letter fails to acknowledge these judicial admissions and limitations on the scope of EMTALA.

This Court should modify the preliminary injunction to accurately reflect the judicial

admissions made by the United States and recognized by the Supreme Court.

       There can be no doubt that the United States’ judicial admissions are and were

significant changes in the facts and law (or at least the fact of the United States’ position on

what the law is). The significance of them is inherent in the Supreme Court’s decision to not

consider the matter before judgment and to vacate its stay of this Court’s injunction. Dkt. 165-

2 at 1. Justice Barrett’s concurrence discussed how the evolution of the case, specifically “the

parties’ litigation positions have rendered the scope of the dispute unclear, at best.” Id. at 11

(Barrett, J., concurring). And the “dramatic narrowing of the dispute—especially the

Government’s position on abortions to address mental health and conscience exemptions for

healthcare providers” impacted whether the Court’s injunction should be stayed. Id. at 14

(Barrett, J., concurring).

       These four judicial admissions bind the United States. Having made these judicial

admissions, and having obtained a vacatur of the Supreme Court’s stay of the injunction as a

result, the United States is estopped from now denying them. See, e.g., Pegram v. Herdrich, 530

U.S. 211, 227 n.8 (2000) (“Judicial estoppel generally prevents a party from prevailing in one

phase of a case on an argument and then relying on a contradictory argument to prevail in

another phase.”).


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       The judicial admission regarding mental health is significant because it now materially

narrows any alleged conflict between EMTALA and Idaho Code § 18-622. It is also new. In

the last reasoned briefing before this Court, the United States’ position was that the Defense

of Life Act conflicted with EMTALA as to physicians who performed an abortion “when a

patient’s ‘health’ is in ‘serious jeopardy.’” Dkt. 130 at 8. The United States did not limit its

position to just physical health. Likewise, in the briefing before the Ninth Circuit, the United

States was of the position that “EMTALA requires whatever treatment a provider concludes

is medically necessary to stabilize whatever emergency condition is present.” Answering Br. at

31, United States of Am. v. Idaho, Nos. 23-35440, 23-35450 (Sept. 8, 2023), Dkt. 35 (emphasis

added). HHS has long considered an emergency medical condition to include mental health

conditions. E.g., 42 C.F.R. § 489.24(b) (defining emergency medical condition as “manifesting

itself by acute symptoms of sufficient severity (including severe pain, psychiatric disturbances

and/or symptoms of substances abuse) ….”) (emphasis added). But now the United States

has conceded that abortion is never a stabilizing treatment for mental health conditions, and

so there can be no conflict between the Defense of Life Act and EMTALA as to pregnant

women whose emergency conditions are mental health conditions. See also Dkt. 165-2 at 45–

47 (Alito, J., dissenting). The Court’s injunction currently covers situations where the medical

condition is a mental health condition. See Dkt. 95 at 39.

       The judicial admission regarding conscience protections is also significant. The United

States has now taken the position that EMTALA “does not override” the conscience

protections recognized in federal law, including the Weldon Amendment, Church

Amendment, and Coats-Snowe Amendment (and presumably the Hyde Amendment too). Tr.


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Oral Argument at 87–90, Moyle v. United States, 144 S. Ct. 2015 (2024) (Nos. 23-726, 23-727).2

In fact, the United States acknowledged that federal conscience protections mean that

EMTALA does not require abortions even if the entire medical staff of a hospital or the

hospital itself objects to providing an abortion. See id at 90 (lines 11–18). Yet the United States’

position, articulated clearest before the Ninth Circuit, was that those laws “do not apply on

their own terms” and that those laws “reinforce[d]” that abortion was stabilizing treatment.

Answering Br. at 56, Idaho, Nos. 23-35440, 23-35450, Dkt. 35. And according to the United

States then, “EMTALA requires hospitals to offer abortion care when treating physicians

deem it necessary.” Id. at 28 (heading, emphasis removed). Moreover, to add even further

confusion, Secretary Becerra at a recent House Committee on Education and the Workforce

hearing, acknowledged physician conscience objections, but was adamant that hospitals lacked

such protection and said, “If a healthcare facility is violating the law and not providing the

service they’re required to … they are not entitled to the resources.”3

       The preliminary injunction does not account for the United States’ judicial admission

that doctors and hospitals who have conscience objections are not required to provide

abortions. See Dkt. 95 at 39. The United States cannot have its cake and eat it too—take one

position before the Supreme Court and then take an opposing position in public statements

to hospitals and doctors. Modifying the injunction is necessary to ensure the regulated




2 A copy of the transcript is also attached as Exhibit B to the Declaration of Counsel.

3 House Committee on Education & the Workforce, Examining the Policies and Priorities of the

Department of Health and Human Services, at 02:02:08 YouTube (May 15, 2024),
https://www.youtube.com/watch?v=TlMqoOE0YQ0.

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community is protected, Idaho’s law is enjoined no further than necessary, and the United

States is held to its judicial admissions.

       The judicial admission that abortions are not stabilizing care for postviability

emergency medical conditions is also new and significant. Before the Ninth Circuit, the United

States clearly articulated its position that the physician chooses “whatever treatment” the

physician believes is medically necessary. Answering Br. at 31, Idaho, Nos. 23-35440, 23-35450,

Dkt. 35 (emphasis added). It has now scrapped that position in part to say that stabilizing

treatment for an emergency medical condition that arises postviability is delivery not abortion.

See also Dkt. 162-5 at 40 (Alito, J., dissenting). Thus, there can now be no conflict between

EMTALA and the Defense of Life Act postviability, because the United States has conceded

that abortion is not required by EMTALA—indeed, delivery is required by EMTALA. The

preliminary injunction does not reflect that understanding of EMTALA. See Dkt. 95 at 39.

       And finally, the “acute medical situation” judicial admission is a significant and new

position taken by the United States. For example, in its reply briefing before this Court, the

United States’ position was that EMTALA had a “much broader definition of when treatment

is required, i.e., for an emergency medical condition that could result in ‘placing the health of the

individual . . . in serious jeopardy.” Dkt. 86 at 17 (emphasis added). The United States then

defended that position again, arguing that EMTALA may require abortions “when harm is

probable.” Dkt. 106 at 24 (citing Dkt. 95 at 21). Its new position is that “EMTALA requires

abortion only in an ‘emergency acute medical situation,’ where a woman’s health is in jeopardy

if she does not receive an abortion ‘then and there.’” Dkt. 165-2 at 12 n.* (Barrett, J.,

concurring (citing Tr. of Oral Arg. 79–80)); see also Dkt. 165-2 at 41–42 (Alito, J., dissenting).


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And yet the preliminary injunction does not reflect EMTALA’s “temporal limitation” that

stabilizing treatment is only required for an “acute medical situation” that demands treatment

“then and there.” Dkt. 95 at 39. By permitting abortions to merely “avoid” an emergency

medical condition, the preliminary injunction is unjustifiably broader and permits prophylactic

abortions for distant conditions that the United States now admits EMTALA does not

require.4

                                        CONCLUSION

       Each of the United States’ four judicial admissions represent significant changes of fact

or law. The preliminary injunction cannot remain unchanged in light of those admissions. Any

potential conflict between the Defense of Life Act and EMTALA is now dramatically

narrower, and the preliminary injunction should reflect that. But it doesn’t. It should be

modified to account for these judicial admissions.

       DATED: July 12, 2024.

                                              STATE OF IDAHO
                                              OFFICE OF THE ATTORNEY GENERAL


                                        By:    /s/ Brian V. Church
                                                 BRIAN V. CHURCH
                                                 Lead Deputy Attorney General




4 The United States did not contest, before the Supreme Court, that the injunction currently

exceeds EMTALA’s scope. See Reply Br. at 24, Idaho v. United States of Am., No. 23-727, 2024
WL 1657762 (2024); see also Opening Br. at 41, Idaho v. United States of Am., No. 23-727, 2024
WL 752335 (2024) (explaining how the Court’s “necessary to avoid an emergency medical
condition” standard did not align with EMTALA’s definition of stabilizing treatment).

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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 12, 2024, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system which sent a Notice of Electronic Filing to the
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                                                       /s/ Brian V. Church
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